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4
     Attorney for Defendant
5    ERASTO SOLIS-FERNANDEZ
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      NO. CR-S-04-0369
                                     )
13                  Plaintiff,       )
                                     )
14        v.                         )      AMENDED STIPULATION AND ORDER
                                     )      CONTINUING STATUS HEARING
15   ERASTO SOLIS-FERNANDEZ,         )
                                     )      Date: June 24, 2005
16                  Defendant.       )      Time: 9:00 a.m.
                                     )      Judge: Hon. Garland E. Burrell, Jr.
17   _______________________________ )
18
           ERASTO SOLIS-FERNANDEZ, by and through his counsel, VICKI E. CODY
19
     and the United States Government, by and through its counsel, JASON
20
     HITT, Asst. U.S. Attorney, hereby agree to continue the status hearing
21
     set for April 29, 2005, to June 24, 2005, at 9:00 a.m.
22
           This continuance is requested to permit the defense to continue
23
     its investigation into possible defenses to the charges.           In addition,
24
     the parties seek additional time to work on settlement options in light
25
     of recent Supreme Court decisions.
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     \\\
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              Case 2:04-cr-00369-GEB Document 15 Filed 05/06/05 Page 2 of 2


1         The parties further agree and stipulate that time should be
2    excluded from calculation under the Speedy Trial Act (18 U.S.C. § 3161
3    et seq.) for the following reason: time for counsel to prepare (Local
4    Code T4).     Accordingly time is excluded under 18 U.S.C. §
5    3161(h)(8)(iv)(Local Code T4), from April 29, 2005, through and
6    including June 24, 2005.       Mr. Solis-Fernandez is in custody and
7    consents to this stipulation.
8
9         IT IS SO STIPULATED.
10
     Dated: April 29, 2005
11                                             Respectfully submitted,
12                                             /s/ Signature on file w/CODY
                                               VICKI E. CODY
13                                             Attorney for Defendant
                                               ERASTO SOLIS-FERNANDEZ
14
15   Dated: April 29, 2005
                                               McGREGOR W. SCOTT
16                                             UNITED STATES ATTORNEY
17                                             /s/ Signature on file w/CODY
                                               JASON HITT
18                                             Assistant U.S. Attorney
19
                                             ORDER
20
     IT IS SO ORDERED.
21
     Dated:    May 5, 2005
22
23                                       /s/ Garland E. Burrell, Jr.
                                         GARLAND E. BURRELL, JR.
24                                       United States District Judge
25
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